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                              UNITED STATES DISTRICT COURT
                                 DISTRICT OF MARYLAND


 LEADERS OF A BEAUTIFUL STRUGGLE
 et al.,

                Plaintiffs,
                                                            Civil Action No. 20-929
         v.
                                                            [PROPOSED] ORDER
 BALTIMORE POLICE DEPARTMENT
 et al.,

                Defendants.


               [PROPOSED] ORDER GRANTING PLAINTIFFS’ MOTION
                       FOR A PRELIMINARY INJUNCTION

       Having considered Plaintiffs’ Motion for a Temporary Restraining Order & a Preliminary

Injunction, and for good cause shown, this Court GRANTS the motion and ORDERS as follows:

       1. Plaintiffs’ motion for a Preliminary Injunction is granted.

       2. Defendants and their agents, employees, successors in office, and all others acting in

active concert with them are enjoined from operating the Aerial Investigation Research (“AIR”)

program in Baltimore City, and are enjoined from collecting images through the program or

accessing any stored images created by operation of such a surveillance, during the pendency of

this lawsuit and until such time as the Court reaches a final disposition of this lawsuit.

       This Order shall remain in full force and effect pending further proceedings in this Court.

IT IS SO ORDERED



Dated: April __, 2020                                 __________________________
                                                      United States District Court
                                                      for the District of Maryland
